Case 1:22-cv-09350-LGS Document 1 Filed 11/01/22 Page 1 of 25

 

 

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 

--- xX
JOSE SANTOS, JR.,
COMPLAINT
WITH JURY DEMAND
Plaintiff,
-against- Civil Action No.: CV-22-9350

THE HARTFORD FINANCIAL SERVICES GROUP, INC.
doing business as THE HARTFORD and TRUMBULL
INSURANCE COMPANY,

Defendants.
x
Plaintiff, by his Attorneys DE MEO & ASSOCIATES, LLC, complaining of the

 

Defendants, respectfully sets forth and alleges as follows:
NATURE OF CASE

1. This is an action for personal injuries sustained by Plaintiff JOSE SANTOS, JR. and
arises from a pedestrian/motor vehicle accident that occurred on November 10, 2019 at
the intersection of Jerome Avenue and East Mount Eden Avenue in the County of the
Bronx, State of New York wherein Plaintiff JOSE SANTOS, JR. was a pedestrian
walking while crossing a street and was struck by a motor vehicle.

PARTIES

2. At the time of the accident Plaintiff JOSE SANTOS, JR. was a resident of the County of
Kings, State of New York.

3. At the time of commencement of this action, Plaintiff JOSE SANTOS, JR. was a resident
of the County of Kings, State of New York.

4. At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant THE HARTFORD FINANCIAL
SERVICES GROUP, INC. doing business as THE HARTFORD, was/is a foreign

 
Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 2of25, _

 

 

corporation with a principal place of business of One Hartford Plaza, Hartford, CT 06115
and was operating and/or conducting business in the State of New York, inclusive of the
territory of the State of New York located within the confines of the Southern District of
New York, under and by virtue of the laws and/or authority of the State of New York.

_ At the time of the accident and at the time of the commencement of this action, and at all

times hereinafter mentioned, Defendant THE HARTFORD FINANCIAL

SERVICES GROUP, INC. also known as THE HARTFORD, was/is an insurance
company that provided and/or wrote automobile insurance policies in the United States of

America and the State of New York.

_ At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant THE HARTFORD FINANCIAL

SERVICES GROUP, INC. also known as THE HARTFORD, transacted business within
the State of New York.

_ At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant THE HARTFORD FINANCIAL

SERVICES GROUP, INC. also known as THE HARTFORD, contracted anywhere to
supply goods or services in the State of New York.

_ At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant THE HARTFORD FINANCIAL

SERVICES GROUP, INC. also known as THE HARTFORD, committed a tortious act
within the State of New York.

_ At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant THE HARTFORD FINANCIAL

SERVICES GROUP, INC. also known as THE HARTFORD, committed a tortious act
without the State of New York causing personal injury to Plaintiff JOSE SANTOS, JR.
within the State and expected or reasonably should have expected the act to have

consequences in the State of New York and derived substantial revenue from interstate or

2

 
 

10.

11.

12.

13.

14.

1
Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 3 of BS

international commerce.

At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant THE HARTFORD FINANCIAL

SERVICES GROUP, INC. also known as THE HARTFORD, committed a tortious act
without the State of New York causing personal injury to Plaintiff JOSE SANTOS, JR.
within the State and regularly did or solicited business, or engaged in persistent course of
conduct, or derived substantial revenue from goods used or consumed or services
rendered in the State of New York.

At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant THE HARTFORD FINANCIAL

SERVICES GROUP, INC. also known as THE HARTFORD, owned, used or possessed
real property situated within the State of New York.

At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant TRUMBULL INSURANCE COMPANY, was/is
a foreign corporation with a principal place of business of One Hartford Plaza, Hartford,
CT 06115 and was operating and/or conducting business in the State of New York,
inclusive of the territory of the State of New York located within the confines of the
Southern District of New York, under and by virtue of the laws and/or authority of the
State of New York.

At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant TRUMBULL INSURANCE COMPANY, was/is
a subsidiary, affiliate, agent, agency, unit, division, department and/or underwriting
company of Defendant THE HARTFORD FINANCIALSERVICES GROUP, INC. also
known as THE HARTFORD.

At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant TRUMBULL INSURANCE COMPANY, was/is
an insurance company that provided and/or wrote automobile insurance policies in the

United States of America and the State of New York.
3

 
 

15.

16.

17.

18.

19.

20.

Case 1:22-Cv-09350-LGS Document 1 Filed 11/01/22 Page 4 of 25

At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant TRUMBULL INSURANCE COMPANY,
transacted business within the State of New York.

At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant TRUMBULL INSURANCE COMPANY,
contracted anywhere to supply goods or services in the State of New York.

At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant TRUMBULL INSURANCE COMPANY,
committed a tortious act within the State of New York.

At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant TRUMBULL INSURANCE COMPANY,
committed a tortious act without the State of New York causing personal injury to
Plaintiff JOSE SANTOS, JR. within the State and expected or reasonably should have
expected the act to have consequences in the State of New York and derived substantial
revenue from interstate or international commerce.

At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant TRUMBULL IN SURANCE COMPANY,
committed a tortious act without the State of New York causing personal injury to
Plaintiff JOSE SANTOS, JR. within the State and regularly did or solicited business, or
engaged in persistent course of conduct, or derived substantial revenue from goods used
or consumed or services rendered in the State of New York.

At the time of the accident and at the time of the commencement of this action, and at all
times hereinafter mentioned, Defendant TRUMBULL INSURANCE COMPANY,
owned, used or possessed real property situated within the State of New York.

JURY DEMAND

21. Plaintiff demands a trial by jury on all issues of fact and damages stated herein.

 
Case 1:22-cv-09350-LGS Document 1 Filed 11/01/22 Page 5 of 25

 

 

22.

23.

24,

25.

26.

27.

JURISDICTION — Federal Question
The Court has Federal Question Jurisdiction pursuant to the provisions of 28 U.S.C. §1331
and §1364.
JURISDICTION — Supplemental
Although claims arising under United States of America government issued law are
interposed herein, there may be claims asserted pursuant to state law and/or local law that
are related to claims in this action and that form part of the same case or controversy
under the United State Constitution. As per 28 U.S.C. § 1367, this Honorable Court has
supplemental jurisdiction over such other related claims.
VENUE
Venue is proper in this District pursuant to 28 U.S.C. §1391(b)(2), (c)(2) and (d).

FACTS

That on or about November 10, 2019, and prior thereto, and at all imes hereinafter
mentioned, the Permanent Mission of Ghana/Ghana UN Mission was the owner of a 2018
Toyota motor vehicle bearing United States of America government issued registration
number/license plate number 009STVD.

That on or about November 10, 2019, and prior thereto, and at all times hereinafter
mentioned, the Permanent Mission of Ghana/Ghana UN Mission was the registered
owner of a 2018 Toyota motor vehicle bearing United States of America government
issued registration number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye operated and/or was the operator of a 2018 Toyota motor vehicle bearing

United States of America government issued registration number/license plate number

0095TVD.

 
 

28.

29,

30.

31.

32.

33.

Case 1:22-Cv-09350-LGS Document 1 Filed 11/01/22 Page 6 of 25

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye operated and/or was the operator of a 2018 Toyota motor vehicle bearing
United States of America government issued registration number/license plate number
0095TVD with the permission, consent and/or knowledge of the Permanent Mission of
Ghana/Ghana UN Mission as owner of said motor vehicle.

That on or about November 10, 2019, and prior thereto, and at all times hereinafter
mentioned, Permanent Mission of Ghana/Ghana UN Mission maintained and/or was
responsible for maintaining and/or the maintenance to/of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095STVD.

That on or about November 10, 2019, and prior thereto, and at all times hereinafter
mentioned, Permanent Mission of Ghana/Ghana UN Mission controlled and/or was
responsible for controlling and/or the control to/of a 2018 Toyota motor vehicle bearing
United States of America government issued registration number/license plate number
0095TVD.

That on or about November 10, 2019, and prior thereto, and at all times hereinafter
mentioned, Permanent Mission of Ghana/Ghana UN Mission managed and/or was
responsible for managing and/or the management to/of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Permanent
Mission of Ghana/Ghana UN Mission used, occupied and/or possessed and/or was using,
in possession of and/or in occupancy of a 2018 Toyota motor vehicle bearing United
States of America government issued registration number/license plate number
009STVD.

That on or about November 10, 2019, and prior thereto, and at all times hereinafter
mentioned, Permanent Mission of Ghana/Ghana UN Mission inspected and/or was

responsible for inspection and/or the inspections to/of a 2018 Toyota motor vehicle
6

 
 

34.

35.

36.

37.

38.

Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 7 of 25

bearing United States of America government issued registration number/license plate
number 0095TVD.

That on or about November 10, 2019, and prior thereto, and at all times hereinafter
mentioned, Permanent Mission of Ghana/Ghana UN Mission repaired and/or was
responsible for repairing and/or the repairs to/of a 2018 Toyota motor vehicle bearing
United States of America government issued registration number/license plate number
QO9STVD.

That on or about November 10, 2019, and prior thereto, and at all times hereinafter
mentioned, Permanent Mission of Ghana/Ghana UN Mission supervised and/or was
responsible for supervising and/or the supervision to/of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD, inclusive of the ownership, operation, maintenance, management,
control, use, possession, occupancy, contracting, subcontracting, leasing, renting,
entrustment, repair and/or inspection to/of said motor vehicle.

That on or about November 10, 2019, and at all! times hereinafter mentioned, there was a
lease agreement and/or rental agreement and/or contract in existence and/or in effect
pertaining to a 2018 Toyota motor vehicle bearing United States of America government
issued registration number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Permanent
Mission of Ghana/Ghana UN Mission was a party to a lease agreement and/or rental
agreement and/or contract that was in existence and/or in effect pertaining to a 2018
Toyota motor vehicle bearing United States of America government issued registration
number/license plate number 0O9STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Permanent
Mission of Ghana/Ghana UN Mission was the lessor of a 2018 Toyota motor vehicle

bearing United States of America government issued registration number/license plate

number 0095TVD.

 
 

39.

40.

Al,

42.

43.

44,

45.

Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 8 of 25

That on or about November 10, 2019, and at all times hereinafter mentioned, Permanent
Mission of Ghana/Ghana UN Mission was the lessee of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Permanent
Mission of Ghana/Ghana UN Mission was the renter of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Permanent
Mission of Ghana/Ghana UN Mission was the rentee of a 2018 Toyota motor vehicle
bearing United States of America government issued registration number/license plate
number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Permanent
Mission of Ghana/Ghana UN Mission was the contractor of/for a 2018 Toyota motor
vehicle bearing United States of America government issued registration number/license
plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Permanent
Mission of Ghana/Ghana UN Mission was the contractee of/for a 2018 Toyota motor
vehicle bearing United States of America government issued registration number/license
plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Permanent
Mission of Ghana/Ghana UN Mission was the subcontractor of/for a 2018 Toyota motor
vehicle bearing United States of America government issued registration number/license
plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Permanent

Mission of Ghana/Ghana UN Mission was the subcontractee of/for a 2018 Toyota motor

vehicle bearing United States of America government issued registration number/license

 
 

46.

47,

48.

49.

50.

51.

52.

Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 9 of 25

plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Permanent
Mission of Ghana/Ghana UN Mission entrusted a 2018 Toyota motor vehicle bearing
United States of America government issued registration number/license plate number
0O095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Permanent
Mission of Ghana/Ghana UN Mission entrusted a 2018 Toyota motor vehicle bearing
United States of America government issued registration number/license plate number
0095TVD to Camarat Abdoulaye.

That on or about November 10, 2019, and prior thereto, and at all times hereinafter
mentioned, Camarat Abdoulaye maintained and/or was responsible for maintaining
and/or the maintenance to/of a 2018 Toyota motor vehicle bearing United States of
America government issued registration number/license plate number 0095TVD.

That on or about November 10, 2019, and prior thereto, and at all times hereinafter
mentioned, Camarat Abdoulaye controlled and/or was responsible for controlling and/or
the control to/of a 2018 Toyota motor vehicle bearing United States of America
government issued registration number/license plate number 0095TVD.

That on or about November 10, 2019, and prior thereto, and at all times hereinafter
mentioned, Camarat Abdowaye managed and/or was responsible for managing and/or the
management to/of a 2018 Toyota motor vehicle bearing United States of America
government issued registration number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye used, occupied and/or possessed and/or was using, in possession of and/or in
occupancy of a 2018 Toyota motor vehicle bearing United States of America government
issued registration number/license plate number 0095TVD.

That on or about November 10, 2019, and prior thereto, and at all times hereinafter
mentioned, Camarat Abdoulaye inspected and/or was responsible for inspection and/or

the inspections to/of a 2018 Toyota motor vehicle bearing United States of America
9

 
Case 1:22-Cv-09350-LGS Document 1 Filed 11/01/22 Page 10 of 25

 

 

53.

34.

55.

56.

57.

58.

59.

government issued registration number/license plate number 0095TVD.

That on or about November 10, 2019, and prior thereto, and at all times hereinafter
mentioned, Camarat Abdoulaye repaired and/or was responsible for repairing and/or the
repairs to/of a 2018 Toyota motor vehicle bearing United States of America government
issued registration number/license plate number 0095TVD.

That on or about November 10, 2019, and prior thereto, and at all times hereinafter
mentioned, Camarat Abdoulaye supervised and/or was responsible for supervising and/or
the supervision to/of a 2018 Toyota motor vehicle bearing United States of America
government issued registration number/license plate number 0095TVD, inclusive of the
ownership, operation, maintenance, management, control, use, possession, occupancy,
contracting, subcontracting, leasing, renting, entrustment, repair and/or inspection to/of
said motor vehicle.

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye was a party to a lease agreement and/or rental agreement and/or contract that
was in existence and/or in effect pertaining to a 2018 Toyota motor vehicle bearing
United States of America government issued registration number/license plate number
0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye was the lessor of a 2018 Toyota motor vehicle bearing United States of
America government issued registration number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye was the lessee of a 2018 Toyota motor vehicle bearing United States of
America government issued registration number/license plate number 0O95TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye was the renter of a 2018 Toyota motor vehicle bearing United States of
America government issued registration number/license plate number 009STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat

Abdoulaye was the rentee of a 2018 Toyota motor vehicle bearing United States of
10

 
Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 11 of 25

 

 

60.

61,

62.

63.

64.

65.

66.

67.

America government issued registration number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye was the contractor of/for a 2018 Toyota motor vehicle bearing United States
of America government issued registration number/license plate number 0095TVD.
That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye was the contractee of/for a 2018 Toyota motor vehicle bearing United States
of America government issued registration number/license plate number 0095TVD.
That on or about November 10, 2019, and at all times hereinafter mentioned, Carnarat
Abdoulaye was the subcontractor of/for a 2018 Toyota motor vehicle bearing United
States of America government issued registration number/license plate number
0O9STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye was the subcontractee of/for a 2018 Toyota motor vehicle bearing United
States of America government issued registration number/license plate number
O009STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye entrusted a 2018 Toyota motor vehicle bearing United States of America
government issued registration number/license plate number 0O9STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye entrusted a 2018 Toyota motor vehicle bearing United States of America
government issued registration number/license plate number 0095TVD to Permanent
Mission of Ghana/Ghana UN Mission.

That on or about November 10, 2019, and at all times hereinafter mentioned, Permanent
Mission of Ghana/Ghana UN Mission was a mission to the United Nations with a
headquarters location of 19 E. 47" Street New York, N.Y. 10017.

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat

Abdoulaye was a member of the Permanent Mission of Ghana/Ghana UN Mission.

11

 
 

68.

69.

70.

71.

72.

73.

74.

75.

Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 12 of 25

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye was a family member of a member of the Permanent Mission of Ghana/Ghana
UN Mission.

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye was a member of the diplomatic, administrative, technical and/or service staff
of the Permanent Mission of Ghana/Ghana UN Mission.

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye was an agent, servant, representative, personnel and/or employee of the
Permanent Mission of Ghana/Ghana UN Mission.

That on or about November 10, 2019, and at all times hereinafter mentioned, Camarat
Abdoulaye was in the course of his employment and/or duties with the Permanent

Mission of Ghana/Ghana UN Mission.

That on or about November 10, 2019, and at all times hereinafter mentioned, Defendant
THE HARTFORD FINANCIAL SERVICES GROUP, INC. also known as THE
HARTFORD, was an insurance company that provided and/or wrote automobile
insurance policies in the United States of America and the State of New York.

That on or about November 10, 2019, and at all times hereinafter mentioned, Defendant
TRUMBULL INSURANCE COMPANY, was an insurance company that provided
and/or wrote automobile insurance policies in the United States of America and the State
of New York.

That on or about November 10, 2019, and at all times hereinafter mentioned, Defendant

TRUMBULL INSURANCE COMPANY, was a subsidiary, affiliate, agent, agency, unit,
division, department and/or underwriting company offfor Defendant THE HARTFORD
FINANCIALSERVICES GROUP, INC. also known as THE HARTFORD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Defendant

THE HARTFORD FINANCIAL SERVICES GROUP, INC. also known as THE
{2

 
 

76.

77.

78.

79,

80.

Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 13 of 25

HARTFORD, provided a contract of automobile insurance and/or an automobile
insurance policy for the 2018 Toyota motor vehicle bearing United States of America
government issued registration number/license plate number 0095TVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Defendant

TRUMBULL INSURANCE COMPANY provided a contract of automobile insurance
and/or an automobile insurance policy for the 2018 Toyota motor vehicle bearing United
States of America government issued registration number/ license plate number
QO9STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, there was in
effect and existence a contract of automobile insurance and/or an automobile insurance
policy for the 2018 Toyota motor vehicle bearing United States of America government
issued registration number/license plate number 0095TVD provided by Defendant

THE HARTFORD FINANCIAL SERVICES GROUP, INC. also known as THE
HARTFORD.

That on or about November 10, 2019, and at all times hereinafter mentioned, there was in
effect and existence a contract of automobile insurance and/or an automobile insurance
policy for the 2018 Toyota motor vehicle bearing United States of America government
issued registration number/license plate number 0095TVD provided by Defendant
TRUMBULL INSURANCE COMPANY.

That on or about November 10, 2019, and at all times hereinafter mentioned, Defendant
THE HARTFORD FINANCIAL SERVICES GROUP, INC. also known as THE
HARTFORD, insured the 2018 Toyota motor vehicle bearing United States of America
government issued registration number/license plate number 009STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, Defendant
TRUMBULL INSURANCE COMPANY insured the 2018 Toyota motor vehicle bearing

United States of America government issued registration number/license plate number

13

 
 

81.

82.

83.

84.

85.

Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 14 of 25

Q09STVD.

That on or about November 10, 2019, and at all times hereinafter mentioned, the
roadways, strects, thoroughfares, park ways and/or highways comprising the intersection
of Jerome Avenue at and/or near East Mount Eden Avenue in the County of Bronx, State
of New York, were, and still are, public roadways, streets, thoroughfares, parkways
and/or highways in the State of New York used extensively by the public in

general.

That on or about November 10, 2019, and at all times hereinafter mentioned, Plaintiff
JOSE SANTOS, JR. was a lawful pedestrian at the intersection of Jerome Avenue and
East Mount Eden Avenue in the County of Bronx, State of New York.

That on or about November 10, 2019, and at all times hereinafter mentioned, there was
contact between Plaintiff JOSE SANTOS, JR. as a lawful pedestrian and the 201 8 Toyota
motor vehicle bearing United States of America registration number/license plate number
009STVD being owned by Permanent Mission of Ghana/Ghana UN Mission and
operated by Camarat Abdoulaye.

‘That on or about November 10, 2019, and at all times hereinafter mentioned, Plaintiff
JOSE SANTOS, JR. was a lawful pedestrian walking within a crosswalk and attempting
to cross/in the process of crossing a street at the intersection of Jerome Avenue and East
Mount Eden Avenue in the County of Bronx, State of New York when he was struck by
the 2018 Toyota motor vehicle bearing United States of America registration
number/license plate number 0095TVD being owned by Permanent Mission of
Ghana/Ghana UN Mission and operated by Camarat Abdoulaye which was attempting to
make/in the process of making a left turn from Jerome Avenue onto East Mount Eden
Avenue.

That the aforesaid occurrence was due to the wrongful, negligent, grossly negligent,
careless, reckless, grossly reckless, unlawful and/or culpable conduct, acts and/or
omissions of Permanent Mission of Ghana/Ghana UN Mission and/or Camarat

Abdoulaye, either jointly and/or severally, and/or any of their members, agents, servants,
14

 
Case 1:22-Cv-09350-LGS Document 1 Filed 11/01/22 Page 15 of 25

 

 

employees, licensees, officers, offices, directors, administrators, commissioners,
executives, departments, commissions, committees, divisions, subsidiaries, affiliates,
agencies, representatives, contractors, subcontractors, personnel, lessors, lessees, renters,
rentees and/or principals, either jointly and/or severally, in the ownership, operation,
maintenance, use, management, possession, occupancy, leasing, contracting,
subcontracting, renting, supervision, repair, inspection, entrustment and/or control of the
2018 Toyota motor vehicle bearing United States of America government issued
registration number/license plate number 0095TVD, and were further wrongful,
negligent, grossly negligent, careless, reckless, grossly reckless, unlawful and/or
culpable, either jointly and/or severally, inter alia in the following manner: in failing to
and/or failing to properly, adequately, sufficiently, prudently, safely, lawfully and/or
reasonably own, operate, maintain, manage, control, supervise, use, possess, occupy,
contract, subcontract, lease, rent, entrust, repair and/or inspect their motor vehicle; in
failing to and/or failing to properly, adequately, sufficiently, prudently, safely, lawfully
and/or reasonably exercise due care and caution in the ownership, operation,
maintenance, use, management, possession, occupancy, leasing, contracting,
subcontracting, renting, supervision, repair, inspection, entrustment and/or control to/of
their motor vehicle; in failing to and/or failing to properly, adequately, sufficiently,
prudently, safely, lawfully and/or reasonably teach, instruct and/or train in the ownership,
operation, maintenance, use, management, possession, occupancy, leasing, contracting,
subcontracting, renting, supervision, repair, inspection, entrustment and/or control tofof
their motor vehicle; in failing to and/or failing to properly, adequately, sufficiently,
lawfully, prudently, safely and/or reasonably have, keep and/or maintain their motor
vehicle under control; in their motor vehicle traveling/proceeding at an excessive,
dangerous, hazardous, improper, imprudent, unlawful, unreasonable and/or unsafe rate of
speed given the driving, road, pedestrian, weather and/or traffic conditions there existing

at the accident location and/or under the circumstances then and there prevailing at the

15

 
Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 16 of 25

 

 

accident location and at the time of the accident; in failing to stop at, yield to, abide by,
adhere to, comply with and/or obey a traffic and/or speed control device, light, sign
and/or signal; in failing to properly, adequately, sufficiently, safely, prudently, lawfully
and/or reasonably make/attempt to make/proceed to make a left turn; in failing to and/or
failing to properly, adequately, sufficiently, safely, prudently, lawfully and/or reasonably
use/operate/utilize the left turn directional signal/blinker signal; in failing to and/or
failing to properly, adequately, sufficiently, prudently, safely, lawfully and/or reasonably
stop at, yield to, abide by, adhere to, comply with and/or obey a pedestrian control
device/light/signal; in failing to stop at, yield to, abide by, adhere to, comply with and/or
obey a lane and/or road marking and/or a lane and/or road traffic and/or speed marking,
inclusive of a crosswalk; in their motor vehicle being operated dangerously, hazardously,
improperly, imprudently, insufficiently, unlawfully, inadequately, unreasonably and/or
unsafely given the road, pedestrian, traffic, weather and/or driving conditions then and
there existing at the accident location and/or under the circumstances then and there
prevailing at the accident location and at the time of the accident; in failing to and/or
failing to properly, adequately, sufficiently, prudently, lawfully, safely and/or reasonably
observe and see what there was to observe and see; in failing to and/or failing to maintain
a proper, sufficient, adequate, lawful, prudent, safe and/or reasonable maintain a lookout;
in failing to and/or failing to properly, sufficiently, adequately, lawfully, prudently, safely
and/or reasonably look forward, right and/or left; in failing to and/or failing to properly,
sufficiently, adequately, lawfully, prudently, safely and/or reasonably use/view the
rearview and/or sideview mirrors; in failing to have rearview and/or sideview mirrors
equipped on their motor vehicle; in failing to have any rearview and/or sideview mitrors
properly, sufficiently, adequately, lawfully, prudently, safely and/or reasonably
positioned and/or tilted on their motor vehicle; in failing and/or failing to properly,
sufficiently, adequately, prudently, safely, lawfully and/or reasonably heed warnings; in
failing to and/or failing to properly, sufficiently, lawfully, adequately, safely, reasonably

and/or prudently warn, sound a horn or other signaling or warning devices; in failing
16

 
Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 17 of 25

 

 

and/or failing to properly, sufficiently, adequately, prudently, safely, lawfully and/or
reasonably have a horn of the motor vehicle operational; in failing to and/or failing to
timely, properly, adequately, sufficiently, lawfully, safely, prudently and/or reasonably
change speed and/or direction of his motor vehicle; in failing to and/or failing to timely,
properly, adequately, sufficiently, safely, lawfully, prudently and/or reasonably brake,
steer, swerve, or use and/or engage in other operating measures to avoid the accident; in
failing to apply the brakes or any braking mechanism and/or failing to apply the brakes or
any braking mechanism in a timely, proper, adequate, sufficient, safe, lawful, prudent
and/or reasonable manner; in failing to have the brakes and/or any braking mechanism be
in working order and/or in proper, safe, sufficient, adequate, lawful, prudent and/or
reasonable working order; in failing to steer his motor vehicle and/or failing to steer their
motor vehicle in a proper, adequate, sufficient, safe, prudent, lawful and/or reasonable
manner; in failing to have the steering and/or any steering mechanism be in working
order and/or in proper, sufficient, adequate, safe, prudent, lawful and/or reasonable
working order; in failing to have hands on the steering wheel and/or properly placed
and/or positioned on the steering wheel; in failing to and/or failing to properly,
adequately, sufficiently, safely, prudently, lawfully and/or reasonably own,

operate, maintain, use, manage, possess, occupy, lease, rent, contract, subcontract,
supervise, repair, inspect, entrust and/or control their motor vehicle, inclusive of not
doing so in accordance with the applicable rules, codes, laws, guidelines, regulations,
surveys, evaluations, standards, statutes, ordinances and vehicle and traffic laws of the
County of Bronx, City and State of New York and/or the Federal Government of which
the Court will take Judicial Notice; in violating, breaching, neglecting, disregarding
and/or failing to abide by, adhere to, carry out and/or comply with the applicable rules,
codes, laws, guidelines, regulations, surveys, evaluations, standards, statutes, ordinances,
and vehicle and traffic laws of the County of Bronx, City and State of New York and/or
the Federal Government of which the Court will take Judicial Notice, including, but not

limited to the following: New York State Motor Vehicle and Traffic
V7

 
 

Case 1:22-Cv-09350-LGS Document 1 Filed 11/01/22 Page 18 of 25

Law sections 300, 301, 301-a, 307, 312, 335, 355, 375, 376, 376-a, 382, 382-a, 382-

b, 385, 386, 388, 390, 401, 501, 501-b, 502, 503, 503-a, 504, 507, S11, 511-a, 512, 1100,
1101, 1110, 1111, 1111-a, 1112, 1113, 1116, 1120, 1125, 1128, 1129, 1130, 1141, 1142,
1143, 1146, 1150, 1151, 1160, 1161, 1162, 1163, 1164, 1165, 1166, 1172, 1180, 1180-a,
1192, 1192-a, 1194-a, 1200, 1201, 1202, 1212, 1213, 1225, 1225-c, 1226, 1227; in failing
to exercise proper, sufficient, adequate, prudent, safe, lawful and/or reasonable care,
prudence and caution upon approaching Plaintiff; in failing to avoid contact with
Plaintiff; in coming into contact with Plaintiff; in failing to take and/or failing to take
necessary, proper, sufficient, adequate, safe, lawful, prudent and/or reasonable steps,
means, measures and/or precautions to avoid and guard against the happening of the
accident; in their motor vehicle not being operated as a reasonably prudent person would
under the circumstances then and there existing at the accident location; in failing to
and/or failing to properly, adequately, sufficiently, lawfully, prudently, safely and/or
reasonably slow down and/or stop their motor vehicle; in their motor vehicle following
and/or being too close and/or more close to Plaintiff than reasonable and prudent under
the circumstances then and there prevailing at the accident location; in their motor
vehicle being operated by an individual impaired by alcohol; in the operator of their
motor vehicle using a mobile telephone while operating their motor vehicle; in failing to
and/or failing to properly, sufficiently, adequately, prudently, lawfully, safely and/or
reasonably yield the right of way to Plaintiff; in their motor vehicle being operated with
reckless disregard as to pedestrians; in failing to and/or failing to properly, sufficiently,
adequately, prudently, safely, lawfully and/or reasonably conduct
inspections/repairs/maintenance and/or routine

inspections/repairs/maintenance to/of their motor vehicle and/or any equipment thereon;
in operating his motor vehicle in a manner which unreasonably interfered with the free
and proper use of the roadway by pedestrians and/or which endangered pedestrians; in

failing to and/or failing to properly, sufficiently, adequately, lawfully, prudently, safely

18

 
 

86.

Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 19 of 25

and/or reasonably anticipate, prevent and otherwise avoid the accident; in allowing,
permitting, causing and/or creating the accident to occur; in failing to and/or failing to
properly, sufficiently, adequately, lawfully, prudently, safely and/or reasonably operate
their motor vehicle with due regard for the safety of pedestrians; in their motor vehicle
being operated by an individual who was and/or known to be an incompetent and/or
inexperienced driver; in entrusting their motor vehicle to an individual who was and/or
known to be an incompetent and/or inexperienced driver; in their motor vehicle being
operated when it was in and/or known to be in improper working order; in entrusting
their motor vehicle to an individual when it was and/or known to be in improper working
order; in failing to have and/or failing to have a proper, sufficient, adequate, prudent,
lawful, safe and/or reasonable maintenance, inspection and/or repair
plan/schedule/procedures/process/ guidelines/measures/rules in place in regards to the
equipment and/or operation of their motor vehicle; in
violating/breaching/neglecting/disregarding/failing to adhere to, comply with, abide by,
carry out any maintenance, inspection and/or repair

plan/schedule/procedures/process/ guidelines/measures/tules in place in regards to the
equipment and/or operation of their motor vehicle; in their motor vehicle being moved
from the stopped, standing and/or parked position when it was not reasonably safe to do
so; in otherwise being wrongful, negligent, grossly negligent, careless, reckless, in
reckless disregard, grossly reckless, unlawful and/or culpable conduct in the ownership,
operation, maintenance, use, management, possession, occupancy, leasing, renting,
contracting, subcontracting, supervision, repair, inspection, entrustment and/or control of
their motor vehicle;

That as a result of the aforesaid accident, Plaintiff JOSE SANTOS, JR. sustained bodily,

mental, emotional and/or psychological injury, inclusive of a fracture to the third proximal

phalanx, laceration to the head and seizures.

19

 
 

87.

88.

89.

90.

Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 20 of 25

That on or about November 10, 2019, and prior thereto, and all times hereinafter
mentioned, Permanent Mission of Ghana/Ghana UN Mission and Camarat Abdoulaye, as
owner and operator respectively of the 2018 Toyota motor vehicle bearing United States
of America government issued registration number/license plate number OO9STVD,
jointly and/or severally, had the duty, obligation and/or responsibility to own, operate,
maintain, use, manage, possess, occupy, lease, contract, subcontract, rent, supervise,
repair, inspect, entrust and/or control their motor vehicle, and to do so in a reasonable,
proper, safe, lawful, sufficient, adequate and/or prudent manner.

That on or about November 10, 2019, and prior thereto, and all times hereinafter
mentioned, Permanent Mission of Ghana/Ghana UN Mission and Camarat Abdoulaye, as
owner and operator respectively of the 2018 Toyota motor vehicle bearing United States
of America government issued registration number/license plate number O09STVD,
jointly and/or severally, breached, disregarded, neglected, violated and/or failed in their
duty, obligation and/or responsibility to own, operate, maintain, use, manage, possess,
occupy, lease, contract, subcontract, rent, supervise, repair, inspect, entrust and/or control
their motor vehicle in a reasonable, proper, safe, lawful, sufficient, adequate and/or
prudent manner.

That the aforesaid accident and injuries and/or damages resulting therefrom to the
Plaintiff JOSE SANTOS, JR. were caused and/or due wholly and/or solely as a result of
the wrongful, negligent, grossly negligent, careless, in reckless disregard, reckless,
grossly reckless, unlawful and/or culpable conduct of the Permanent Mission of
Ghana/UN Mission and Camarat Abdoulaye, either jointly and/or severally, in the
ownership, operation, maintenance, use, management, possession, occupancy, leasing,
contracting, subcontracting, renting, supervision, repair, inspection, entrustment and/or
control of their motor vehicle, without Plaintiff in any way contributing thereto.

Any liability and/or wrongful, negligent, grossly negligent, careless, reckless,

grossly reckless, in reckless disregard, unlawful and/or culpable conduct herein

established against Camarat Abdoulaye as operator of the 2018 Toyota motor
20
 

91.

92,

93.

94,

95.

Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 21 of 25

vehicle bearing United States of America government issued registration number/license
plate number 0095TVD is alleged to be imputed by operation of law to Permanent
Mission of Ghana/Ghana UN Mission as owner of said motor vehicle under the theory of
vicarious liability and/or respondeat superior.

Any liability and/or wrongful, negligent, grossly negligent, careless, reckless,

grossly reckless, in reckless disregard, unlawful and/or culpable conduct herein
established against Permanent Mission of Ghana/Ghana UN Mission and/or Camarat
Abdoulaye as owner and operator respectively of the 2018 Toyota motor vehicle bearing
United States of America government issued registration number/license plate number
0095TVD, is assumed by and/or attached to Defendant THE HARTFORD FINANCIAL
SERVICES GROUP, INC. also known as THE HARTFORD as per 28 U.S.C. §1364
Any liability and/or wrongful, negligent, grossly negligent, careless, reckless,

grossly reckless, in reckless disregard, unlawful and/or culpable conduct herein
established against Permanent Mission of Ghana/Ghana UN Mission and/or Camarat
Abdoulaye as owner and operator respectively of the 2018 Toyota motor vehicle bearing
United States of America government issued registration number/license plate number
0095TVD, is assumed by and/or attached to Defendant TRUMBULL INSURANCE
COMPANY as per 28 U.S.C. §1364

That no negligence and/or conduct on the part of the Plaintiff contributed to the

accident herein in any manner whatsoever.

That the wrongful, negligent, grossly negligent, careless, in reckless disregard,

reckless, grossly reckless, unlawful and/or culpable conduct of Permanent Mission of
Ghana/UN Mission and Camarat Abdoulaye, either jointly and/or severally, was/were
the/a proximate cause of the accident and/or injuries and/or damages resulting therefrom
to the Plaintiff.

That the aforesaid accident and injuries and/or damages resulting therefrom to

Plaintiff and/or the wrongful, negligent, grossly negligent, careless, in reckless

21

 
96.

97.

98.

99,

100.

Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 22 of 25

disregard, reckless, grossly reckless, unlawful and/or culpable conduct of Permanent
Mission of Ghana/UN Mission and Camarat Abdoulaye, either jointly and/or severally,

was/were foreseeable.

Plaintiff JOSE SANTOS, JR. is a "covered person" as defined by Section 5102(j) of

the Insurance Law of the State of New York.

That by reason of the foregoing and the wrongful, negligent, grossly negligent,
careless, in reckless disregard, reckless, grossly reckless, unlawful and/or culpable
conduct of Permanent Mission of Ghana/UN Mission and Camarat Abdoulaye, either
jointly and/or severally, Plaintiff JOSE SANTOS, JR. sustained serious injuries as
defined in Subsection (d) of Section 5102 of the Insurance Law of the State of New York,
and has sustained serious injury and economic loss greater than basic economic loss as
defined in Subsection (a) of Section 5104 of the Insurance Law.

That by reason of the foregoing and the wrongful, negligent, grossly negligent,
careless, in reckless disregard, reckless, grossly reckless, unlawful and/or culpable
conduct of Permanent Mission of Ghana/UN Mission and Camarat Abdoulaye, either
jointly and/or severally, Plaintiff JOSE SANTOS, JR. sustained serious, severe and
permanent bedily, mental and/or emotional injuries and still suffers and will continue to
suffer great physical, mental and emotional pain and serious bodily injury.

That by reason of the foregoing and the wrongful, negligent, grossly negligent,
careless, in reckless disregard, reckless, grossly reckless, unlawful and/or culpable
conduct of Permanent Mission of Ghana/UN Mission and Camarat Abdoulaye, either
jointly and/or severally, Plaintiff JOSE SANTOS, JR. became sick, sore, lame and
disabled and so remains and will continue to remain so.

That by reason of the foregoing and the wrongful, negligent, grossly negligent,
careless, in reckless disregard, reckless, grossly reckless, unlawful and/or culpable
conduct of Permanent Mission of Ghana/UN Mission and Camarat Abdoulaye, either

jointly and/or severally, Plaintiff JOSE SANTOS, JR.’s bodily, mental and/or emotional

22

 
101.

102.

103.
104.

105.

Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 23 of 25

injuries are permanent and he will permanently suffer from the physical, mental and
emotional effects of the aforesaid injuries and he will be caused to suffer permanent
embarrassment and continuous pain and suffering.

That by reason of the foregoing and the wrongful, negligent, grossly negligent,

careless, in reckless disregard, reckless, grossly reckless, unlawful and/or culpable
conduct of Permanent Mission of Ghana/UN Mission and Camarat Abdoulaye, either
jointly and/or severally, Plaintiff JOSE SANTOS, JR. was compelled and/or obliged and
did necessarily require medical aid and attention and did necessarily pay, incur and
become liable therefore.

That by reason of the foregoing and the wrongful, negligent, grossly negligent,

careless, in reckless disregard, reckless, grossly reckless, unlawful and/or culpable
conduct of Permanent Mission of Ghana/UN Mission and Camarat Abdoulaye, either
jointly and/or severally, Plaintiff JOSE SANTOS, JR. was, has been and will continue to
be, unable to attend to his usual and/or normal daily activities, routine, occupation,
vocation, duties and affairs in the manner required.

That the limitations of CPLR Section 1601 do not apply to this action.

That this action falls within one or more of the exceptions set forth in CPLR

Section 1602, to wit, the limitations set forth in CPLR 1601 regarding limited liability of
persons or entities jointly liable, limiting their responsibilities for non-economic damages
to the amount of their equitable share of liability to 50% or less, does not apply in this
case since, under CPLR 1602 (6), this limitation is inapplicable to any persons held liable
by reason of his use, operation, or ownership of a motor vehicle or motorcycle, as those
terms are defined respectively in Sections 311 and 125 of the State of New York Vehicle
and Traffic Law.

Plaintiff JOSE SANTOS, JR. was damaged in a sum which exceeds the

jurisdictional limits of all lower and/or other courts, together with interest, costs, and

disbursements in this action.

23

 
Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 24 of 25

WHEREFORE, Plaintiff JOSE SANTOS, JR. demands judgment against the

Defendants, either jointly and/or severally, in a sum of ONE MILLION DOLLARS

($1,000,000.00), together with the costs and disbursements of this action.

Dated: November 1, 2022
Syosset, New York

24

 

be

By: CRAIG C. DE MEO (CD-7427)
DE MEO & ASSOCIATES, LLC
Attomeys for Plaintiff

4 Lilac Drive

Syosset, NY 11791

(516) 802-4846

ccedesq@aol.com

 

 
Case 1:22-cv-09350-LGS Document1 Filed 11/01/22 Page 25 of 25

 

Civil Action No.: CV-22-9350

UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

--- oe ----X

JOSE SANTOS, JR.

 

Plaintiff,
-against-
THE HARTFORD FINANCIAL SERVICES GROUP, INC.
doing business as THE HARTFORD and TRUMBULL
INSURANCE COMPANY,

Defendants.

 

x
COMPLAINT WITH JURY DEMAND
DE MEO & ASSOCIATES, LLC
Attomey for Plaintiff-SANTOS, JR.

4 Lilac Drive
Syosset, New York 11791
(516) 802-4846

 
